The questions presented in the above-entitled proceeding are the same as those involved in proceeding numbered 4790 of the same title, this day decided. Upon the authority of that case we are of the opinion that the proceedings had in the court below, in the action entitled Una Margaret Locke Paddon,Plaintiff, v. William Locke Paddon et als., Defendants, which said action is numbered 128432, ante, p. 34 [223 P. 91, in the office of the county clerk of the city and county of San Francisco, state of California, are proper and should be affirmed. It is so ordered and the writ is dismissed.
Tyler, P. J., concurred.
A petition for rehearing of this cause was denied by the district court of appeal on January 19, 1924, and an application by petitioner to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on February 18, 1924.
All the Justices concurred.
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